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                      EXHIBIT B
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From: Bryan Aylstock
Sent: Saturday, April 06, 2013 11:08 AM
To: Ben Watson
Cc: Tom P. Cartmell (tcartmell@wcllp.com); Renee Baggett; Dianne Nast; Christy Jones; 'Donna Jacobs'
Subject: Ethicon/jnj revised discovery responses

Ben,
You have promised us revised discovery responses following our multiple meet and confers for
weeks. We simply cannot keep waiting as the delay is already affecting our ability to complete
our discovery in line with the trial schedule. Please serve your revised responses on Monday or
we will have to move to compel. Whatever you produce should represent your best and final
efforts to comply.
Thanks
Bryan
